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_ Rhodes Homes Arizona, << OM
2215 Hualapai Mountain Road, Suite H
, Kingman, Arizona 86401
Phone: (928) 718-2210
Fax: (928) 718-1322 |
Consultant Agreement E
Date:. 2128105 . in
To; Stanley Consultants
Project X-1 Ranch ae | Pao
Type of Work: Engineering
Contract: XBMP1000-182 be

se Attached you will find your Consultant Agreement for the project stated above.

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'

Please sign and initial all pages of both contracts as indicated and return both
contracts fo our office as soon as possible, A fully executed copy will be retumed fo
you. - :

NOTE: Every page of this contract must be signed or initialed to be considered
valid. . .

We look forward to a prosperous business relationship with your company.

Sincerely,

Rhodes Homes Anzona

Enclosures

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Consultant Agreement

” ‘This Agreement made this 28th day of February, 2005, by and between Rhedes Homes Arizona. ioc.

hereinafter sometimes referred to as “CHent", and Stanley Consultants, sometimes heralinafter
referred to aa “Consultant”, provides as follows:

Date: 2/28/05
Projact: X-4 Hanch (hereinafter sometimes referred ta as “The Project") —
Contract Price: $306,672.00 /

RECITALS:

A. Client Is, the developer of The Project. Client is entaring into this Agreement with
Cansultant ta perform the professional services described within the Scone of
Services, attached a3 Exhibit "A” to this Agreement.

B. Consultant Is qualified to provide the professional services agreed to within this
Agreement as requested by the Client. if Consuitant is mot qualified to ‘perform the .
servicas indicated hareln for compioting the work, Consultant will immediately notify
Client of such in writing.

Cc. . Consultant shall maintain the schedule as mutually agreed upon unless outside
circumstances such as governmental reviews, natural disasters, or other unknown or
uncontrollable Influences occur, The clfent shall be notified immediately of any
changes to the schedule.

WITNESSETH:

IN CONSIDERATION of the mutual promises and covenants hereinafter set forth, the Client and the
Consultant agree as follows: -

4 ‘Services: Consultant shall perform the professional services described in Exhibit “A” and
elsewhere throughout this Agreement Exhibit "A" is attached hereto and incorporated hereln
by reference (tha "Scope of Services”).

2. Non-Exclusivity: This Agreement shall nat act as an exclusive contract limiting the Clientto -
use only Consultant at the Project.

3. Standards: Atl services shall be performed by the Gonsutiant in a manner consistant with
that ievel of care ordinarily exercised by reputable members of the professian who are
currently practicing in the same localily under similar conditions.

4 Government Ragqufations: Consultant shall comply with all known laws, statutes,
ordinances, standards; rules and regulations, policies, Heensing requirements, Insurance
requirements, practices, and procedures of federal, state, municipal, and special district
governmental authorities which are applicable lo the services covered under this Agreement.

5, | Materlats: Alf necessary labor, licenses, and any cther items necessary ta complete the
services as outlined in Exhibit “A* (hereinafter collectively referred to as the "Materials"), must -
be fumished by the Consultant and shall be a part of the contract price unless itis specifically

excluded in Exhibit “A”.

Reproduction of six (6) coples of documents needed for the proxiyetion, design, and submittal
_ of plans and maps are included in the contract price. In addition, one capy af each
document, map, oF plan will be mé prewiderd te the Client during the prelimin 7
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the first submittal, after each additional submittal, and immediately after approval and
recordation The tots! cost of these copies Is included in the overall price of this contract.

Any additional repreduction of plans and documenta requested by Cllent which are not
inctuded in the contract price shall be directed by Cilent to Ciiant’s rapraduction company of
choice at Client's expense in the event changes are requested by the Cilent, an additional
fee shail be negotiated for those copies at the instance of tha Consultant at the time of
request,

Licensing Requirements: As a condition of this Agreement, Consullant shal! maintain in
effect at all times during tha term of this Agreement a valid and appropriate license and/or
registration for the State of Arizona, or any other governmental or administrative bady as may
be applicable. Copies of current applicable licenses shall be submited to Client upon
request. Furthermore, Consultant shall ensure that each of its employees who are subject to
licensing and/or registration maintain a current and vaild license and/or registration while
perfarming work on the project. Consultant will notice Cent in writing immediately of any
changes to Consultant's registration license status.

Kay Personnel: .

a. Award of this contract was based upon a Taview of the personal qualifications proposed
by the Consultant. This includes, but fs not limited lo, Consultant's currant organizational
chart, the described intemal schedule of processing for the recordalion of mapls), and
the current Principals of the company.

b. The Client wii be notified immediately if thera is a change in Key Contact Personnel -

Including the names and qualifications of these Individuals.

ce. Should the Individuals originally assigned to Client nat-be able to perform the work, the
Consultant shail send written notice of any proposed replacement or addition, including a
statement of quatifications, by individual name. Such proposed replacement or addition
must be sent to Client immediately.

d. Client reserves the right te reject any proposed replacement or addition and/or to request
addifional qualifying documentation.

e. Key personnel designated by Consultant may be subject to an Interview with Client to
substantiate the knowledge and expertence that has been represented.

f Prior fo begirining work, the Consullant will supply Cllent.with a Key Contact Personnel
List to include thelr job, tile, and contact information, Consultant will aiso supply Client
with a list of emplayees authorized to sign contracts and change orders.

Consultant's Representations:

a. The Consultant shall perform the services outlined in Exhibit “A" in 2 manner consistent
with that level of cara ordinarily exercised by reputable members of the profession
currently practicing In the same locality and under similar conditions, Consultant

’ understands the nafure and scope of services and shall perform all services as required
in this Agreament. .

b. Consultant.shall attend a weekly status meeting according to Client's requests. Fees for.

weekly meetings shall be included in the lump sum Price for the duration indicated In
Exhibit “A". ” : .

indemnification: To the fullest extent permiited by law, Consultant shall indemnify and ‘hota
Client harmless from and against any and all claims, liabilities, demands, iosses, Ss,

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causes of action, damages, casts, expenses, fines, and penalties of every nature, Including
but not limited to these resulting from Injury to persons or property, which are caused by
Consultant's negligent act, error, or omission In the performance of the services under this
. Agreement or by Its breach of this Agreement. Consuitant shall not be responsible to
. indernnify Cltent from any Hablity, claims, judgments, losses or demands that are caused by
the negligence of the Clant. In the event Client and Consultant are determined to be Jointly
at fault, any liability as between Client and Cdnsultant shall be allocated between Clleni and
Consuitant in accordance with their proportionate share of such fault.

10, Attomey's Fees: If elfher party becomes involved in litigation arising out of this Agreement
or the performance thereof, the court shall award reasonable costs and expenses, including
attorney's fees, to the prevailing party. In awarding attorney's fees, the court shall not be
bound by any court fee schedule, but shall, in the interest of justice, award tha full amount of
costs, expenses, and attorney's fees pald or incurred In good faith,

+1. Confidentiality of the Consultant: Consultant acknowledges and agrees that throughout
the term of this Agresment, Consultant may obtain information about the Client or the project -

which fs highly sensitive and confidential, Except as required by law or by a court of
competent jurisdictlon, Consultant agrees not to disclose Client confidential information te
unrelated third parties cutside the scope of the services without the express written consent
of the Client, Nothing herein shall be deemed ta prohibit Consultant frem making a
disclosure of a violation of law or of a matter necessary to protect the health or safety of any
person, Consultant will notify Chent prior to releasing any disks or maps pravided to other .
consultants’ that are prepared In conjunctlon with any work/services far Client. Required :
coordination with any agency necassary for the approval or construction of this project is ~

hereby granted. *

12. Insurance; Consultant shall maintain adequate insurance coverage at its own expense at all . |
times during the full term of lis services under this Agreement and as otherwise required :
hereunder, Insurance coverage must have policy Iimits nol Jess than those set forth below
with insurers Iicansed to do business in the State of Arizona and which Is acceptable to the
Client and under forms of policies satisfactory to the Cent There are no other requirements
contained herein as to types, limits, or Client's approval of Insurance. Glient coverage to be
maintained by Consultant is Intended to and shall not in any way or manner limit quality or
quantity of the liabilities and obligations assumed by Consultant under this Agrsement or

otherwise as may be provided by law. | :

The following items must be submitted to the Insurance Coordinator of Rhodes Homes
Arizona prior to payment of any invoices or acceptance of any work, Consultant agrees that It
shall not be entitled to such payment until such thme that the following have been received by

Client

~ @ Ganeral Liability Insurance Coverage in the amount of $2,000,000 aggregate. The :
Certificate holder's box must show the following names as additionally Insured: . . ‘.

. Rhodes Homes
« Rhodes Homes Arizona
. James M Rhodes, individually

This Certificate must also have attached an additional insured endorsement in a CG 2026
1185, or a GG2037 1001 FORMAT which names the same three names as additionally
insured.- The insurance company providing the insurance coverage must have an AM
Best Rating of A+ or better and must be admitted in the state of Arizona. . x

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wo Tha Name of the project must be noted in the Description Box. (We require an Original

Insurance Certificate for gach projact.) .
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. Rhodes Homes Ariztna 4

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b, Comprehensive Automobile Llability insurance In the amount of $4,000,000.

c. State Industrial Insurance Certificate of Workmen's Compensation Insurance, Certificate
which shows that you are covered. {f self-Insured, a certificate showlng that you are

covered.

Professional Liability:

Consultant agrees to provide and maintain, at Its expense, a Professional Llabiity insurance
Policy of $1,060,060 per clalm for a period not less than five (5) years after the date of the
final completion of the work that fs performed In accordance with the services if commercially
avallable and affordable. Consultant shall provida Clent with a copy of the terms and
conditions of the policy providing Professional Liability coverage.

Consultant's Equipment Poll

Any such insurance pollsy covering Consultant's or outsida Consultant's or Consultant's
equipment against loss by physical damage shail include an endorsement waiving the
Insurer's right of subrogation against the Indemmities. Such insurance shall be Consultant's
and outside Consultant's and In-house Consultant's sole and complete means of recovery for
any such loss. Should Consultant or any outside Congultant or in-house Consultant choose
to self-insure this risk, It ls expressly agreed that the Consultant and the autsida Consultant
and in-house Consuftan! hereby waive any claim for damage or loss to said equipment in

favor In the indemnities.

Other Requirements;

Evidence cf the insurance coverage required to be maintalned by Consultant represented by
Certificates of Insurance issued by the Insurance carrier{s), must be furnished to the Client
prior to Consultant starting its services. Certificates of Insurance shall specify the additional
insured status. mantioned above as well as the waivers of subrogation. .Such Certificates of
Insurance shall state that Client will be notified in writing thirty (20) days prior to cancefation
or non-renewal of insurance. Gansuitant shall provide to Client a certified copy of any and all:
applicable insurance policies prior to requesting of receiving payment from Client and prior to
starting work, Timely renewal cerlificates will be provided to Client as the coverage renews.

Insurance similar to that required of Consultant shail be provided by or on behalf of ail outside
Consultants and In-house Consullants to cover their operations performed under this
Agreement Consultant shall be held responsible for any modifications In these Insurance
requirements as ihey apply to Consultants. Consultant shall maintain Certificates of
insurance from all Consultants, enumerating, among other things, the waivers in favor of, and
Insured status of, the Indemnilles as required herein and make them available to Cilent upon
raquest, The term "Consultant{s)" shall include Consultants of any tler,

Additional Required Documents:
a. State of Arizona License. Copy of unexpired license, if required by law.

b. Copy of current unexpired business licenses, whichever is applicable to the subdivision
or job.

1) Mohave County -
2) City of Kingman

‘Gc. Avalld W-9 must be on file. .

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Use of Work Product:

a Consultant's work product shall be delivered to Client per a mutually agreed schedule In
accordance to paragraph 16 of this Agraement and may be used by Cllent for any
* purpose connected with the project In accordance with paragraph 16 of this Agreement.
Consultant agrees te provide Client with the disks containing the work product of the
Consultant in a format as agreed upon at the Initiation of project and to the Clients
specifications. Under ne circumstances shail transfer of drawings and other instruments
of service on electronic media for ise by the Client be deemed a sale by the Consuillant,
and the Consultant makes no warranties, elther express or implied, of Consultant's items

of work,

bh. Documents, including drawings and specifications, which ara prepared by Consultant
pursuant to this Agreement are not intended or represented to be suitable for use by
Client or others other than for their originally intended use at the Project. Any use of
completed dacumerts other than as originally intended, without written verification of
approval by Consultant, will be at Cllent’s sole risk and without flabllily or legal exposure
fo Consultant.

¢. Consultant shall not ralease any non-public data or work product prepared under this
Agreement to any other consultant, enilty, or private/public organization without the priar
writen authorization of Client with the exception to these documents that must be
released to public record prior to approval or recerdation. | ~

Review and Approval of Work:

a. Cllent reserves ihe right to have the Consultanf's work product reviewed by ather
consuitants or by Client at its discretion. Consultant shall fully cooperate with the Client
and its agents in review of its work product Consultant shall immediately provide either
appropriate changes or a wrilten response as a resuit of such outside review, Addillonal
costs, if any, for such changes and or responses shail be negotlated prior te making such
changes and/or responses. {{ said changes are for value enginearing purposes, sald
revisions will be done after {he Client has approved tham on a time and materials basis.
lf Cfent and Consultant are unable lo resolve such dispute, Cltent and Consultant agree
to mutually select an independent party to seek a resalutien through madiation.

b. Provided the Consultant is given clear written and spoken directions from the Client, work
is to conform to the Client's acceptance and interme! specifications as they are provided
prior to start of work in ‘addition to City and County specificallons, acceptance, and
approval. If there is a conflict between the Client's specifications and the governing
agency's specifications, the governing agency's specifications shall prevail. Furthermare,
Client requires that on or before 10% ‘of the work, !s complete and on a reguier basis
thereafter, Consultant shall present its design to Client to obtain approval and/or advice

“on how to mitigate design discrepancies earty in tha pracess.

a. Consultants work shall be in a manner consistent with that level of care’ and still
ordinazily exercised by reputable members of the profeseion currently practicing in tha
same locality under similar conditions and shall be deemed completa when it has been
signed, approved, recorded, and accepted by the applicable governing 8 agencies, and the
approved coples have been presented to Cent . .

Sched les. lt. provided fer In Consultant's Scope of Services, the Consultant wit supply and
update a detalled critical production/design. review schedule on a weekly basis for tracking
purposes which Includes planned versus aciual completion Umeframes for both entity reviews
and Consultant production. Consultant shall maintaln the schedule as mutually agreed upon
uniass outside clrcumstances such as governmental ravlews, natural disasters, or other

uokrown or uncontrollable influencas occur. The client shall be notifled eee gr .
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changes to the schedule. Additional fees may be required for any unforeseeable delays in
ihe project that are outside of the Cansullant's contra}

Changes; From fime to time, Cilent may require changes In the Scope of Services of the
Consultant to be performed thereunder. Such changes, Including any increase or decrease
In the amount of the Consultant's compensation, which are mutually agreed upon by and
between Cent and Consultant shall be Incorporated In written- amendments or Changa
Orders to this Agreement and signed by all partles hereta prior to performing additional
services, Cilent and Consultant may request an armendment of the provisions of this
Agreement; however, oral undersiandings shall not be binding. To be valid, all such
amendments shall be made in writing and signed by all parties hereto.

Waivers: No walver or indulgence of any breach or setles of breaches of this Agreement
shall ba deemed or construed as a walver of any other breach of the same or any other
provision hereof, nor shai? it affect the enforceability of any part of this Agreement, No waiver
shail be valid or binding unless executed In writing-by the waiving party

Termination:

a. Fhe Clent may terminate this Agreement at any lime by written notice to the Consultant
subject fo the payment of all fees and expenses incurred through the termination date.
Upon such termination, Consultant shall dellver ta the Client al! plans, drawings,
computer disks and the Eke which were prepared by the Consuttant in connection with
_this Agreement of said Project. Consultant's plans, drawings and the like may be directly
of indirectly used by the Client to the exfent permitted by law; providad however, Client
hereby agrees to Indemnify and hold Consultant, Hs officers, directors, employees,
consultants, and subcontractors harmless from and against any and afl claims, Habilities,
demands, losses, actions, causes of action, damages, cosis, expenses, fines, and
penaliies of every nature, including but not limited to those resulting from Injury to
persons or property .

b, Thia Agreamant may not be terminated by Consultant except by breach of this
Agreement by Cilent, to Includa nonpayment of fees within 30 days of involca
which Is not cured within fifteen (15) days following Client's racelpt of Consultant's
lnvolce.

& Changes to the approved plans without Cilent's authorization will be grdunds for
~ terminating this Agreement

d, In the event this Agreement is terminated, all finished or unfinished documents, data,
"> drawings, ‘models, photographs, reports, or other material prepared by the ‘Consultant
under this Agreement shal become eligible fos any intended use by Cillent, and
Consultant shall be entitled to receive just and equitable compangation for work
completed on such documents and other materials. All plans, documents, comments
from agencies, and notes become eligible for any use by Client In return for the
compensation received, Client Is to receive from Consultant @ hard copy and en
electronic format copy of all work performed by Consuilant for Client regarding: the
. Project for ihe cost of duplication and reasonable persannel time. _

Assiqnability: Consultant shail not assign this Agreement or any portion thereof or any of Its
rights or obligations hereunder without the expressed written consent of the Cliant.

a, Consultant shall provide Client with a monthly statement of fees and expenses by the ist
ofeach month for payment on the 21" of the same month, Statemants received alter the

+ ist of each month wil be paid as if submitted the following month. ee
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Consultant shail not be construed as approval or aceeptanca of werk furnished
hereunder.

b, Fees and expenses described heraln are not to exceed the fees as set forth in Exhibit "B*
without the prior written approval of the Client. Client shall have no liability for payrrent of
said fees should they exceed fees as set forth In Exhibit "B* without the prior written
approval of the Client. Ail fees exceeding the amounts agreed to herein will be approved
by. both Client and Consultant prior to the commencement of services.

c, Consultant shall pay all lisns (including beneficial use flens), claims, charges, or other
impositions of any nature or kind imposed upon Consultant or arising aut of or in
connection with the services performed or materials provided for hereunder and shall
hold harmless and indemnify Client there from. Cilent reserves the right to pay any lens
that are Imposed ae a result of any work performed by sub-censultants of Consultant.
Consultant shall reimburse Cllant for such payments. The fees in this praposai do not
include any taxes, ff any, whether focal, stale, or federal on professional services,
including but not Emited to sales lax. The amounts of any taxes wil! be added to the
professional service fees as they are invoiced and will be identified as such.

d. .To the extent Consuilant’s services have nat met the Standard of Care as written in A f- KE

Paragraph 4, Consultant shell be held responsible for errors in the fleld created by

Consuitant’s designs. Consuttant shall'be informed of errors Immediately upon discovery fates
and §

If have the right to make adjustments to the plans in order to correct the error.
Consultant shall have the ght to review the. costs submitted by the contractor for the
temedy prior to commencement.

Notice. Any notice in this Agreement shad be in writing and shall be effective upon personal
delivery, certified mailing return receipt raquesied when cepesited in the United States mail,
or upon confirmed transmission by telegram, cable, telex, or a facsimile.

Entire Agreement: This Agreement contains ail the terms, conditions, and provisions hereof

’ greating the understanding and representations of the parties relating thereto regarding this

Project. All such prior written and/or oral. proposals, representations, understandings, and
discussions dre superseded by this Agreement, This Agreement may orly be modified or
amended by further written agreement executed by the parties hereto,

Authority: Each of the undersigned signatories declare and represent that they are duly

* authorized to sign this Agreement and bind each of the parties hereto to all the terms and

condiliona 2s oullined herein.

Binding Effect: This Agreement shail be binding upon the heirs, persenal rpresontatves,
successors, and/or assigns of the Consultant,

Return. of Agreement: Consultant shall execute and retum this Agreement within five (5),

_calendar days from tha date of the Agreement. Cansultant shall not commence with services
and/or work prier to receipt of a fully executed Agrsement. Consultant shall ba dua no
payments for work completed unti both parifes have fully executed this Agreement,

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IN WITNESS WHEREOF, the parties hereto have executed this Agraament on the day and year

written above.
Stanley Consultants Rhodes Homes Arizonalic get
5820 5. Fastem, Suite 200 2216 Hualapai Mountain Road, Sulte H
Las Vegas, NV, 39119 Kingman, Arizona 86401
Phone 702-389-9398 ” Phone: (928) 718-2210
Fax . Fax: (928) 748-1322

2 BiZ/os

Authorized Signature Bate ea fe yi 235

Jae Dep eens) OFF win oe

Print Name oO rca arnount is over $25,050, then two (2}
es Arizona signatures are required,

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Maran Walker, Divisian Manager / ;

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Rhodes Homes Ar:
. Stanley Consultants

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Exhibit “A"

SCOPE OF SERVICES

L GENERAL CONDITIONS OF THE SCOPE OF SERVICES

1. SITE NAME Xe Ranch 2

he
2, SITE DESCRIPTION .
It is the understanding of Stanley Consultants, Inc. (Conmitand, that Rhodes Homes
(Client) intends to develop appreximately 3000 acres of residentlal and/or commercial
subdivistan located within Mahave County, northeast of the City of Kingman. This site Is
focated east of State Highway 66: Parts of Sections 7, 11, 13 and-14 of T23.N, R75 W °
and part of section 7 of T23N,R144W.

3 REIMBURSABLE EXPENSES |.
A budget amount has bean set for reimbursable expenses (See Exhibit B - Schedule of
Values), Relmbursable expenses include such items as courier service; mileage,
reproduction costs, etc .. Any and ail fees required to be paid to government agencies,
quasigovernment agencies or utility agencies are NOT considered reimbursable :
expenses and wilf be pald by check provided by ClienL These paymenis will be i.
fore scheduled by Consuttant and outlined in Exhibit "C”, Time of Completion, giving expected
* , dates when payments will be required and expected amounts of checks needed.

4. MEETINGS
a. Consultant ls required to attend at least ane weekly meeting af client's office to give a

project update.
b. Consultant is required to affend al! public hearings and government agency meetings

that pertain to the project.

I, PRELIMINARY ENGINEERING SERVICES

The tasks contained in this phase of the scope of work are required prior ta the fi natization of the
subdivision design and final map preparation. - . *

1. TOPOGRAPHY AND AERIAL MAPPING
% A field survey will be performed to establish horizontal and vertical ground control paints for

use In aerlal photogrammetry, The vertical datum will be based on NAVD88 and the
horizontal datum will be based on NADS83, utilizing GPS survey techniques. :

% The flight, aerial mapping and DTM will be provided by a sub-consullant. The mapping and
O™ will be sufficient-to provide 2-Jeot contours on the subject property.

+ Boundary willbe based on maps of record and a field survey. . ‘ : be

% = The survey drawing wil be available In hard copy and electronic format (AutoCAD) a as
required. :

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Stanley Consultants

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% Services are based on the authorization for the survey team to enter the property for
purposes of conducting the scope of services required for ihe project.

“+ The services herein are based on the receipt of a currant tile report with coples of all daeds
and instruments referenced therein. (Supplied by owner}.

This. survey will not include any references to: lease agreements, off, gas and mineral rights,
matters that are strictly contractual and items which cannot be located upon the subject tract
. by a specific physical description Those matters are givan constructive notice in a title
commitment and must otherwise be addressed by the partlas involved and/or addressed by
legal counsel. This survey will not address: compliance or assessment of existing utilities,

- wetland determinations, fault lines and/or environmental assessments that ara beyond the
surveyors expertise, Any special survey requirements, changes to our standard certification,
special items in the certification required by any other party and agread by the surveyor, must
be negotiated before any worke is commenced.

t+

2. ALTAIACSM LAND TITLE SURVEY
= Perform a survey based upon the minimum stendards established by ALTAIACSM in'1999.

& in addition, the following tems of Table A will be included i in our contract amount. Items 2, 4,
- £11 a&band 13.

‘3. BASE PROJECT EXHIBIT
% Cansultant shall prepara a project exhibit for use and discussion. The exhibit wil be computer
% = generated and Include property boundaries and ground topography.

4, INFRASTRUCTURE . ,
“& «Consultant shail research, analyze and develop conceptual approaches to water, wastewater,
power and drainage infrastucture to consist of the following:
- Layout of water and sewer alignments
~ Layout of the transportation circulation elements
+ Layout of general drainage pattarns and major facilities for the propased plan
- Layout of general power utilily and major existing facilities
i @&  Invéstigation will Include water quality investigation with treatment and/or disinfaction
requirements. Water rights and options to pravida service to a proposed development wal be
Investigated.

= «Work wil include a computer generated exhibit of thea subject project property and Immediate :
adjacent properties. This map/fexhibit willbe used for all preliminary planning activities, i

utllities services investigations and graphic depiction. : r

[.

"& Consultant will prepare up to two (2) separate facility plans.

Investigation will include wastewater treatment stiategies for on-site, off-site and hauling . so
methods of wastewater management.
i

rh Effluent Reus and Disposal! alternatives will be investigated and reported.

§. CONSTRAINTS EXHIBIT WITH OFF-SITE IMPROVEMENTS so : a
> Consultant shall incorporate all due dillgenceli inteltigence galhered andior calculated as part i
of the preliminary repart preparation and investigation and develop an over-all area wide
constraints map (Includes the project area plus an additional one section around the
perimeter}, which clearly defines all utility connections arid discharge points. All utllltes

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. . include: Water, sewer, starm drainage, existing dedicated ROW for readway/streats, gas
| electrical, cable, telephone, and fiber optics (when applicable),

& = Consuttant shall meet with all local providers of ulitles services, County and/or other . |
jurisdictional review agencies to provide a complated and concise constraints exhibit. |

& LAND PLANNING AND ENTITLEMENTS
Consultant shall Investigate the requirement to complete a General Plan Amendment, zone
change applications, facility plan, special use permits and other entitlements that may be
required fa support this project including coordination with the BLM and cther agencies that .
have jurisdiction over the project site. Special or Independent land uss subrailtais packages uh
that may be desired by the cliant will be completed on a time aad materials basis in addition :
tothe contract amount following approval from the client.

7. DRAINAGE STUDY
s& Consultant shall prepare a conceplual on-site technical drainage study for the overalj Project

The study will address existing drainage concerns impacting this site. The conceptual
drainage study will be prepared In accordance with the Mahave County area flood contre!
siandards. The consultant will be sensifive to the conditions and requirements of FEMA
during the preparetion of the Tachnical Drainage Study. Local drainage conditions will be
Incorporated in a manner that meets FEMA requirements. No regional or off-site area wide
Drainage Report is included as part of this project.

%b This task is based on the preparation of ane drainage study for the Project. Addilional :
Dralnage investigation shall be performed by the consultant at tha clients direction on a time ed
and materials basis in addition to the contract amount following approval from the client.

8, WATER / SEWER STUDY
44 Consultant shall calculate a preliminary water demand for the entire property to determine the i
overall usage and storage for the ultimate buitdout. i

: @ Consultant shail investigate two possible water servica strategies for the entire property (if
: ‘ applicabla).

4 . . aL = Conauitant shal prepare a summary report of the preliminary pipe size and backbone layout
. proposed for the entire property. The summary report will analyze potential water pressures
\ and facililes required for domestic water supply.

“% Consultant shail investigate (he area Department of Water resources agencies (if applicable)
in Anzona and research the availabilty of a ground water contour map ic show approxintate
ground water aclivity and levals. This affort will only include avaiable infarmation as ,
determiied by a search of existing arid readily available records No self performing activities:
will be Involved by the consultant to determine ground water availability, qualily and Jor depth
from ground surface.

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+ Consuitant shall research existingand proposed optlons for water and sewer service and
develop a detailed wort plan to establish public utility services.

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9, TRAFFIC IMPACT ANALYSIS AND TRANSPORTATION INFRAST. RUCTURE -

4 Consultant will prepare a conceptual traffic Impact study to address the impact to jocal streets
and State Route 66. The traffle study willl evaluate the general (maximum density) on-site and *
off-site circulation and allowable turning movements at key intersections, The traffic study wilt
project the traffic generation charactetisttes of the project and the participation required from

the Client.
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+ This proposal excludes traffic signal designs, gap analysis, pragressian analysis, regional
traffic modeling or other traffic engineering services not specifically listed above. Should
Cliant desire such services, Consultant shall provide these services as an extra service to the
contract :

10. ENGINEERING/PLANNING (MEETINGS, EXHIBITS AND WORKSHOPS)
+ Attend meetings; prepare exhibits as required for completion of Phase 7 servicea

411. ENVIRONMENTAL STUDY ,
* Consultant will prapare a Phase I Environmental Site Assessment (ESA) for the entire
property. Services will be canducted in general conformance with the scape and imitations
with ihe American Society of Testing and Materials (ASTM) E1527-C0,

12 PROJECT SCHEDULING .
% Consultant will prepare a detalled project schedule using Microsoft Projects software and .
include alf tasks beginning with the project initiatian to the construction of the first phase of
subdivision development,
© The project schedule will be updated on weekly basis or as needed by significant changes
43. 404 PERMITTING AND BIOLOGIST STUDY

Stanley Consultants will be contracting with SWCA, Inc. for this task. Please see the following for
the Scope of Services.

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Scope of Services and Schedule
Jurisdictional Delineation, Biological Surveys, and Cultural Resources Inventory
for the X41 Ranch Project
Kingman, Arizona

This work plan was prepared in response to a conversation with David Woo, Stanley Consultants
on February 16, 2005. The requested scope of werk will involve delineating waters of the U.S.
on approximately 3,000 acres of land proposed fot development near Kingman, Arizona. It is
assumed that the project will require permitting under Section 404 of the Clean Water Act;
therefore, this scope also includes tasks for preparing oud submitting a permit application vi
package to the U.S. Army Corps of Engineers (USACE). As patt of the application package, ,
cultural and diclogical resources Will also be evaluated. This scope of work includes the
following tasks: .

Task 1. Preliminary Delineation of Turisdictional Waters

Task 2. Biological Resources Survey ,

Task 3. Cultural Resources Inventory . ”

Task 4. Analysis of Alternatives (part of application package) a

Task 5. Habitat Mitigation snd Monitosing Plan (part of application package)
- Task 6. Application Package Preparation and Support

Task 7. Environmental Assessment (EA) Preparation

Task 8. Project Management

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SCOPE OF SERVICES ‘
Task eliminary Delineation of Jurisdictional Wat :

Aerial aud topographic maps of the project area will be used toe complete pretiminary Geographic
Information Systems (GIS} mapping of evident washes (potential waters of the U.S.) within the

project area. Field maps will be prepared using data provided by Stanley Consultants, including
but not limited to high quality actial photographs (1 inch equals 200 feet), contour data, project
boundary data, road ayers, etc Project boundary data will be uploaded into handheld
Geographic ‘Positioning System (GPS) units. Field data sheets 5 wil also be prepared for
recording information about each of the washes.

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Field surveys will be peiformed to collect data at sample points identified at varying intervals
along each of the washes within tie project area. -At each sample point, SWCA will record the
point’s coordinates using a GPS unit and take measurements of the Ordinary High Water Mark
(QHWM), which defines the jurisdictional limits of a stream according to the regulations under
Section 404 of the Clean Water Act, Vegetation, soil, and habitat descriptions will be zecorded
at cach sample point, with patticular, emphasis paid to the presence of riparian vegetation.
Photographs of the current site conditions and washes -will bé taken using a digital camera. It is
* anticipated that one field team comprised of two people will be able to complete the fieldwork
within three days.’ Our proposed cost estimate assumes that xp to 60 sample points- will be
técorded to comply with USACE requirements required to reccive a formal delineation’ ff

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SWCA Envi i Consultants Proposal

additional measating points are required, or the USACE iequites a separate confirmation field
visit, a modification of ou: cost estimate will be required,

Following field surveys, the data will be reviewed and incorporated into a GIS database. SWCA
will use the data to determine total jurisdictional acreage within the project area and to classify
the vatious washes inwo different size classifications. Maps showing jurisdictional waters in the
project area will be prepared to the specifications required by the USACE.

A report will also be prepared to describe the results of the field surveys. The report will include
a description of the project area, field survey methodology, and survey results. The suvey
results will include a description of the jurisdictional waters, the types of vegetation coramanities
present, and a qualitative description of the habitat quality. Washes containing riparian
vegetation will’be noted. Photogtaphs representative of the existing conditions of the washes
will be iacluded as an appendix,

The map and report will ba submitted to Stanley Consultants and Rhodes Homes within 3 weeks
following completion of the field surveys. SWCA will then take up to four business days to
incotperate appropriate project team comments before submitting the preliminary delineation
package to the USACE for theirreview. SWCA will also need to obtain a letter of authorization
from Rhodes Homes and copies of the deeds for the property to document that Rhodes Homes
owns the putvels surveyed. This information will be submitted with the delineation package to
the USACE.

Task 2. Biological Resources Survey

An SWCA biologist will visit the proposed project area to document habitat types present within
and immediately surroonding it. Dominant plant communities and specics will be recorded in
addition to habitat features potentially important to listed or other special status species. Based
on habitat types and features present, the project area will be cyaluated for the potential presence
of such species. ‘This field visit can be conducted concurrently with the jurisdictional waters

sui veys.

SWCA will then prepare a Biological Evaluation (BE) to be used to document compliance with
the Endangered Species Act. This report, at a minimum, will inchude an introduction, a
description of field survey methods used, a summary of field survey results and habitat
evaluations, @ list of dominant vegetation communities and species observed, and narrative
descriptions of federally listed species that have the potential to occur in or wear the project area.
As directed by ‘the USACE’s new guidelines issued by the US Fish and Wildlife Service
(USFWS), thig report will ‘also include SWCA’s recommended determination of effect on cach
species evaluated in the report. SWCA will also contact the Arizona Game and Fish Department
(AGED) to obtain Heritage Database informetion regarding recorded occurrences of listed
species in the project vicinity. Copies of comespondence received from the AGFD will be
included as an appendix to the report. If listed species are observed or site conditions suggest —
that the. ‘proposed project may affect habitat critical t¢ or occupied by Hsted species, the BE may
. contain recommendations for species-specific surveys. . .

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Task 3. Cultarel Resources Inventor
Regulatory Compliance

As patt of Section 404 permitting, cultural resources investigations complying with federal
standards listed in Section 106 of the United States Code of Federal Regulations are necessary.
These standards provide guidance so that cultural resources may be evaluated for eligibility to
the National Register of Historic Places (NRHP). As listed in 36 CER Part 60.4, any undertaking
must evaluate previously recorded and newly discovered sites within the project area for
integrity of location, design, setting, materials, workmanship, feeling, and association. A site
may be considered eligible to the NRHP if it retains sufficient integrity of the element above and
ifit:

A) Is associated with events that have made a significant contribution to the broad

patterns of our history, OR
B) Is associated with the lives of persons significant in our past; OR

C) Embodies the distinctive characteristics of a type, period, ot method of construction, .

of represents the work of a master, or possesses high artistic values, or represents a
significant and distinguishable entity whose components may lack individual
distinction, OR

DB) Yields, or may be likely to yield, information i » nportant in prehistory or history.

In addition to the above criteria, SWCA cultural resources staf wilt comply with ail state, county
o1 Iocal laws, regulations and permitting requirements.

Cultural Resources Background Research

Obtaining cultural resources background information is the first step towards completing the
evaluation. SWCA will visit or contact a vatiety of sources so that all previous research
conducted in the project area will be available to guide the investigators. Sources of information
may include site files stored within the AZSite Database at the Arizona State Historic

Preservation Office (SHPO), files jqcated at offices of federal agencies such as the Bureau of.

Land Management or the United ‘States Forest Service, files located at universities, and
documents and repoits located in regional libraries. Information located during this search will
be used to develop regional contexts for the final report. Such contexts are necessary to evaluate
any Properties located during the field survey for NRHP eligibility.

Based on the results of the background research, SWCA will prepare a new scope and budget to
conduct field investigations, if necessary, and prepare a detailed report for submittal to the SHPO
when the 404 permit application package is submitted to the USACE Using the researched

’ information, SWCA will determine the amount of area that needs to be surveyed and the

approptiate survey methodology. SWCA will calculate the new. budget based on the size of the
area to be surveyed, number of crew members that would be needed, and estimated number and

‘types of ‘sites that may be found i in the project area

The field survey methodology will adhere to survey methods established by the Arizona State
Museum. These standards include conducting a pedestrian survey using transects in which
archaeologists are spaced not more than 20 meters apait and require that personnel supervising

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XJ Ranch Project
SWCA Envyii tal Consultants Proposal:

field work be qualified to conduct work in the project area. Transect types will be appropriate to
the terain. On open, fairly flat tenain transects will be oriented to cardinal directions. On hills

_ or other steep terrain, transects following land contours may be used. Field crew size may vary,
but will be appropiate to project constraints such as area to be surveyed and budget. During the
inventory, any previously recorded sites would be re-evaluated and re-recorded as necessary.
Newly discovered archaeclogical sites would be recorded using standard Arizona State Museum
site forms. Site lecations and sketch maps would be generated utilizing data obtained from
handheld GPS units. The duration of field survey is unknown, but may be affected by factors
such as weather or extremely high site density SWCA would evaluate the significance of all
identified historic and prehistoric resources in terms of eligibility to the State and National
Register of Historic Places. If more than the estimated number of sites are identified, a new
scope and cost estimate would need to be approved prior to recording those sites.

Task 4, Habitat Mitigation and Monitoring Plan

Various mitigation options are available to offset impacts to jurisdictional waters At this time, it
ig not possible to determine the amount of mitigation that would be necessary or how the
mitigation would "be implemented. During the planning process, mitigation options will be
evaluated and discussed in a Habitat Mitigation and Monitoring Plan (HM™MP). ‘This. plan will
include a thorough description of the proposed mitigation, including monitoring criteria and
desired habitat conditions, and discuss other mitigation options that were not selected SWCA
will coordinate with Rhodes Homes, Stanley Consultants, and the ISACE to develop a preferred
mitigation option.

Task 5. Analysis of Alternatives

‘The alternatives analysis document will contain a thorough discussion of alternatives considered
for the project. SWCA will coordinate with Rhodes Homes and Stanley Consultants to obtain
information on each alternative. Hach alternative will include a discussion of the amount of
impacts to jurisdictional waters, efforts taken to avoid jurisdictional waters, an overview map of
the development plans for each of the alternatives, and other inforraation, including cost-te-built
and other economic factors that show why the altemative is o: is not the least environmentally
damaging practical alternative (LEDPA). Alternatives that need to be discussed include “off~
site’ alternatives and an explanation of why this property was purchased as opposed to other
propetties available. Rhodes Homes would need to proyide SWCA, with information regarding
their site selection process and the other properties available at the time they purchased the
project acea, -

Task 6, Application Package Preparation and Support :

It is assumed that am application for the project will be submitted to the USACE following
approval of the delineation by the USACE and receipt of final project impact infoumation from
Stanley Consultants. At this time, it is not possible to determine the appropriate permit that L
’ would be required for this project. Howeyei, based on the size of the property and presence of .
. several washes, it is anticipated that the project would require an Individual Permit. The , .
following outlines the steps of an Individual Permit process:

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Af Ranch Project
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Field surveys to determine extent of jurisdictional waters (Task 1, above)
Preparation and submittal of the Preliminary Delineation (Task L, above)

Pre-application site meeting with the USACE and other resomce agencies (Task 8,
below)

Surveys for cultural and biological resources (Tasks 2 and 3, above)

Preparation of Individual Permit Application Package, including an impacts analysis
{Task 6} .

Completion and Subrnittal of a Habitat Mitigation and Monitoring Plan (Task 4, above}
Completion and Subunittal of an Altematives Analysis (Task 5, above}

Public and agency cormment period G0 days)

USACE decision period .

Preparation of Environmental Assessment (Task 7, below)

Environmental Assessment approval by USACE and permit issuance

SWCA assumes that Stanley Consultants will provide the final engineering and proposed impact
information required for the permit application. SWCA will use GIS and AutoCadd to calculate
impacts to jurisdictional waters for each alternative based on plans provided by Stanley

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Consultants (including altemative site plans), The information SWCA will need to receive from
Staniey/Rhodes before we can complete the impacts analysis and permit application includes:

© Complete project description,

« An AntoCadd layer, registered to the 1 inch equals 200 feet aerial photography,
showing all locations of proposed impacts,

« Nature of activity, types and quantities of fill materials to be placed in
jurisdictional waters (culverts, pipes, road crossings, etc.}, ‘

* Plan view and typical cross section drawings of various structures to be placed in
jorisdictional areas, and .

* Names, addresses, aid phone nontbers of all adjacent Jand owners

‘ ‘The application package will include the following documents;

Biological Evaluation

Cultszal Resources Inventory report

Alternatives Analysis document

Draft Habitat Mitigation and Monitoring Plan

Formal Delineation File No, and calculated jurisdictional area information
Application form

Public potice address information

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XI Ranch Project
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-SWCA anticipates that it will take up to eight weeks to prepare the pe:mit application package
once we receive the final projectimpacts information from Stanley Consultants A  pie-
application meeting/site visit with the USACE may be necessary to confirm the appropriate
permit for the project and/or to discuss mitigation options and other aspects of the project.
Stanley Consultants and Rhades Homes will be provided the application package to review and
comment on prior to submittal. SWCA will revise the package, if warranted, and submit it to the
USACE within one week of receiving comments.

In compliance with Section 401 of the Clean Water Act, a water quality certification or waiver
from the Atizona Department of Environmental Quality will also be required SWCA will
cousult with the agency during preparation of the permit application package to obtain the
certification. Should the certification or waiver not be received prior to issuance of the 404
permit, the USACE will iikely issue the pe:mit with a “denied without prejudice clause”, and the
permit will become effective once the agency issues the water quality certificate or waiver.

Once the Individual Permit application package has‘ been submitted, SWCA will provide pemmit
support in order to expedite the permit process, where possible. Support would occur during the
entire permitting process, and additional meetings and coordination would occur under the
Project Management task (Task 8, below).

Task 7, Envirorimental Assessment Preparation

SWCA will prepare a draft Environmental Assessment to evaluate impacts to the human
environment in compliance with the National Environmental Policy Act of 1969. This document
will include a brief project description, description of the impacted elements of the human
environment, and other information required by the USACE. SWCA will follow the USACE
format dnd provide all information in draft form Following the public comment period for the
Individual Permit application, SWCA will also respond to agency and public comments and
include the responses im the Environmental Assessment. The draft Environmental Assessment
will be submitted to the USACE within one month following receipt of the public comments
from the USACE. Once the USACE reviews and approves the docuinent, the USACE will
produce the final Envitonmental Assessment. :

Task 8. Project Management
Management will ensure that proper conmmunication and coordination occurs with all agencies

involved in this process including the USACE, AGFD, USFWS, SHPO, and the US.
Enyironmental Protection Apency (USEPA). This task does not include any tribal consattation.

Ef tibal consultation is required, SWCA would prepare a separate cost and scope of work for"

approval by the project proponent, This cost assumes the SWCA project managers will attend a
maximum of two project meetings with agencies (assuming at the USACE office in Tucsoa)
during the course of the permit negotiations. If SWCA's attendance is required for more
meetings, a change order for this task would occur.

SWCA

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XI Ranch Project
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This task also includes internal coordination with all team members throughout the course of this
project and coordination with the engineers and developer to discuss the project and obiain
information. This task assumes that up to 4 meetings with Stanley Consultants and Rhodes
Homes will be necessary throughant the application process to discuss the project.

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SCHEDULE

The following table provides a tentative schedule by task for the work described above:

Task : -__| Schedule in Work Days*
1 Preliminary Delineation Preparation . . 1-35
2 Biological Resources Surveys 1-40
3 Cultural Resonres Inventory 1-10"
4 HMMP. 85-305
5 Alternatives Analysis 85-115
6 Application Package Preparation and Support 85-305"
7 ‘Environmental Assessment Preparation —. 115-3054
8 Project Management Project Duration
{ . * Prior to beginning field work, SWCA will need GIS data from Stanley Consultants The schedule is in

days from receiving the necessary project data and signed contact.

® Task 3 includes only the background search A new scope, schedule, and cost estimate will be prepared
for the field surveys and final report preparation, if necessary.

* Task 6 will begin after the USACE approves the nee delineation (approximately 3 months after

submittal) and once the Ginal project inf ived. This task submitted of the package

by day 115 and includes a 9-month review onto for the USACE.

4 Task 7 will begin after the package ia submitted to-the USACE and will be completed when the USACE
approves of the Environmental Assessment .

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Summary of Fees
i Jurisdictional Delineation, Biological Surveys, and Cultuzal Resources Inventory
for the X1 Ranch Project

Kingman, Arizona

SWCA proposes to initiate work within one week of receiving notice to proceed and a signed
contact. The work described above would be completed on @ time and materials basis and will
not exceed the contract total without prior written approval. The following provides a project
cost breakdown by task for the project,

ITEM. FEE

1. ___ Preliminary Delineation Preparation... occas eieeeeeerrses eee DP OOS
2 Biological Surveys . toon teem vay soons woe 4,520
3. “Cultural Resources Inventory - cette ~ ob 5,190
4, Habixat Mitigation and Monitozing Plan - b 7,830

Analysis of Alternatives. ........ were
Application Package Prepatation and Suppor

8 9,015
-& 7,320

$8 m4 GH tA

. Environmental Assessment Preparation - ........--. - dion eneeee eevee 5,616
Project Management 2 oc... cence tse cceeeceeeees nee erties eee teen coos SL2 160
TOTAL. $61,520
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Exhibit "B" &
SCHEDULE OF VALUES

Part Stanley Consultants Inc. praposes to complete the following parts of the Phage / efforts on a
lump sum amount basis,

‘Consultant will Invoice client monthly based on percentage complete.

4. Base Maps and Boundaries; Topo and Aerial Mapping; . . -
2. ALTA Survey

Lump Sum Amount of : $75, 000

Part I: Stantey Consultants ine. proposes to complete the following parts of the Phase | effarts on a
Time and Materials nat to exceed, basis

~ Bx iast?
Bitfing will be monthly per the consultants standard hourly fees and schedule attached. & ub
3. Base Project Exhibit $ 10,000 2, Ts
4, Infrastructure

5. Constraints Exhibit and Off-site improvements €24,0098 15,000 BGR
6. Land Planning & Entitlement $5,000 :
7. Drainage Study $ 16,00 a
8a Plans to Establish Water and Sewer Co, $ 15,600
8b. Master Water/Sewer Study $ 24,000 oe
9. Traffic Impact Analysis and Frans, infrastructure $ 15,000 .
: 10, Engineering/Planning/Coordination Meatings $ 20,000 7G
: 44 Phase | Environmental sita Assessment $ 15,000 i
12. Project Scheduling $ 5,060 i i
Time and material not to exceed $ 164,000 . Pood,

ne eee

Part il: Subconsultant’s 404 Permitting, Biolagical Resources Survey, and Cultural Resources
Inventory efforts on a Time and Materials not fo exceed basis.

Billing will be monthly per the consultants standard hourly fees and schedule attached.
13. 404 Permilting; Biological Resources/Cultural Resources

\ Stantey Consuitant’s Subconsultant Fee (x10%) $ 61,520 $ 6,452 +
f : Time and materia! not to exceed $ 67,672 . |
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Grand Total: $ 306,672.00

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. Stanley Consutants. {We

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"Exhibit “C”
‘TIME OF COMELETION

Engineering Schedule: , . . i
(see attached Schedule} 7 ois

Survey Schedule: .

Time of completion is determined by Client for which Consultant twill provide its services on an “on- i
call” basis. , . ..

Client must make all staking requests 48 hours in advance

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Stantey Consultants ee v

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a)
Exhibit “D”
RHODES HOMES ARIZONA
2215 Hualapa! Mountain Road, Suite H
Kingman, Arizona 86404
(928) 718-2210 Phone
(928) 718-1322 Fax
Change Order
Change Order #:
Clent: Rhodes Homes Arizona
bens Consultant: Stanley Consultants
: ' ProjectName: = X-1 RANCH
Description of Wark: = Civii Engineering
Consultant Agreement Date: 224/05
Contract#:  XBMP1000-48.2
me . This Change Order is made this __- day of : by and between
" ‘Rhodes Homes Arizona and _ for the following changes in work;

(Describe changes in work required, reasons for the change, and associated casts of sald change.) ©

Owner agrees to pay for all changes, if approved and required for the satisfactory completion of the
work, performed by the Consultant under this Change Order according to the terms of the Consultant
Agreement. The amount paid by the Qwner shalt be full compensation for all work requested and for
all effect of this document en the work. The change, If any, in the Contract Price shall be Computed
according to one of the following methads:

(Check method appropriate to the requested Change Order)
__. 1. No Change
2; Costs Plus a Fae $

a 2% Unt Pree ~ °  §

_— 4 Lump Sum of $ a

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Rhodes Homes Ariza}
Stanley Consultants.

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‘If items 2 or 3 are marked, Consultant shail submit promplly to Client such itemized labor and

material breakdown as Client may require for work performed or deleted fram the Consultant
Agreement by this Change Crder, The Consultant shall Include the cost of such change in its next
application for payment In a separate line Item.

The change, if any, In the Project Schedule resulting from the work requested by the Change Order

‘ shall ba determined according to the terms of the Consultant Agreement and allows for {check as

appropriate} an addition a deletion of (_ } days

The undersigned agree to the changes, additions, modifications, or revisions in the work and, if ~

warranted by the Change Order, an adjustment in the Contract Price or the Client's Projact Schedule
or the terms and conditions of the Contract Documents issued on or after the effective date of the
Consuitant Agreement.

Stanley Consultants : Rhodes Homes Arizona’
Authorized Signature . Authorized Signature
Print Name Print Name
Title . Title
Date Cate

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